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                                                                   APPEAL,CLOSED,TYPE−C
                               U.S. District Court
                    District of Columbia (Washington, DC)
              CIVIL DOCKET FOR CASE #: 1:22−cv−02430−CJN
                                Internal Use Only

EL PUENTE et al v. U.S. ARMY CORPS OF ENGINEERS et    Date Filed: 08/16/2022
al                                                    Date Terminated: 08/08/2023
Assigned to: Judge Carl J. Nichols                    Jury Demand: None
Cause: 05:0706 Judicial Review of Agency Actions      Nature of Suit: 899 Administrative
                                                      Procedure Act/Review or Appeal of
                                                      Agency Decision
                                                      Jurisdiction: U.S. Government Defendant
Plaintiff
EL PUENTE                              represented by Cari Miyoko Sakashita
                                                      CENTER FOR BIOLOGICAL
                                                      DIVERSITY
                                                      1212 Broadway
                                                      Suite 800
                                                      Oakland, CA 94612
                                                      510−844−7100
                                                      Fax: 510−844−7150
                                                      Email: miyoko@biologicaldiversity.org
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                     Julie Teel Simmonds
                                                     CENTER FOR BIOLOGICAL
                                                     DIVERSITY
                                                     1536 Wynkoop St.
                                                     Ste. 421
                                                     Denver, CO 80202
                                                     619−990−2999
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                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Kristen Monsell
                                                     CENTER FOR BIOLOGICAL
                                                     DIVERSITY
                                                     1212 Broadway
                                                     Suite 800
                                                     Oakland, CA 94612
                                                     510−844−7137
                                                     Email: kmonsell@biologicaldiversity.org
                                                     ATTORNEY TO BE NOTICED

                                                     Catherine Cain Ware Kilduff
                                                     CENTER FOR BIOLOGICAL


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       Case 1:22-cv-02430-CJN Document 37 Filed 08/23/23 Page 2 of 43


                                                      DIVERSITY
                                                      1212 Broadway, St
                                                      #800
                                                      Oakland, CA 94612
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                                                      ATTORNEY TO BE NOTICED

Plaintiff
CORALATIONS                          represented by Cari Miyoko Sakashita
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                      Julie Teel Simmonds
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Kristen Monsell
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Catherine Cain Ware Kilduff
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Plaintiff
CENTER FOR BIOLOGICAL                represented by Cari Miyoko Sakashita
DIVERSITY                                           (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                      Julie Teel Simmonds
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Kristen Monsell
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Catherine Cain Ware Kilduff
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED


V.
Defendant
U.S. ARMY CORPS OF ENGINEERS         represented by


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                                                  Christopher Charles Hair
                                                  U.S. ATTORNEY'S OFFICE FOR THE
                                                  DISTRICT OF COLUMBIA
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                                                  (202) 532−3041
                                                  Fax: (202) 305−0275
                                                  Email: christopher.hair@usdoj.gov
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Heather E. Gange
                                                  U.S. DEPARTMENT OF JUSTICE
                                                  Environment & Natural Resources Division
                                                  Ben Franklin Station
                                                  P.O. Box 7611
                                                  Washington, DC 20044
                                                  (202) 514−4206
                                                  Fax: (202) 514−8865
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                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

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                                                  Fax: (202) 305−0275
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                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Sarah Izfar
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                                                  Environment and Natural Resources
                                                  Division
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                                                  Washington, DC 20044−7611
                                                  (202) 305−0490
                                                  Fax: (202) 305−0506
                                                  Email: sarah.izfar@usdoj.gov
                                                  ATTORNEY TO BE NOTICED

Defendant
SCOTT A. SPELLMON                    represented by Christopher Charles Hair
Lieutenant, Chief of Engineers and                  (See above for address)
Commanding General, Army Corps of                   LEAD ATTORNEY
Engineers                                           ATTORNEY TO BE NOTICED

                                                  Heather E. Gange
                                                  (See above for address)

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                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Michelle M. Spatz
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Sarah Izfar
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Defendant
GINA M. RAIMONDO                    represented by Christopher Charles Hair
Secretary of Commerce                              (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                 Heather E. Gange
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Michelle M. Spatz
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Sarah Izfar
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Defendant
NATIONAL MARINE FISHERIES           represented by Christopher Charles Hair
SERVICE                                            (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                 Heather E. Gange
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Michelle M. Spatz
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Sarah Izfar
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED


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Defendant
DEB HAALAND                          represented by Christopher Charles Hair
Secretary of Interior                               (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                   Heather E. Gange
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Michelle M. Spatz
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Sarah Izfar
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Defendant
U.S. FISH AND WILDLIFE               represented by Christopher Charles Hair
SERVICE                                             (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                   Heather E. Gange
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Michelle M. Spatz
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Sarah Izfar
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Amicus
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                                                    802−831−1627
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      Case 1:22-cv-02430-CJN Document 37 Filed 08/23/23 Page 6 of 43


                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Michael Ray Harris
                                                            BCM ENVIRONMENTAL & LAND
                                                            LAW
                                                            Environmental Justice Clinic
                                                            3 Maple Street
                                                            Concord, NH 03301
                                                            802−356−3040
                                                            Email: mrharris@vermontlaw.edu
                                                            TERMINATED: 07/06/2023
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Amicus
TOABAJENOS EN DEFENSA DEL                    represented by Christophe Gagnon Courchesne
AMBIENTE                                                    (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Michael Ray Harris
                                                            (See above for address)
                                                            TERMINATED: 07/06/2023
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED


Date Filed   #   Docket Text
08/16/2022   1   COMPLAINT against All Defendants ( Filing fee $ 402 receipt number
                 ADCDC−9444789) filed by CENTER FOR BIOLOGICAL DIVERSITY,
                 CORALATIONS, EL PUENTE. (Attachments: # 1 Civil Cover Sheet, # 2 Summons
                 U.S. Attorney General, # 3 Summons U.S. Attorney's Office, # 4 Summons U.S. Army
                 Corps, # 5 Summons Scott A. Spellmon, # 6 Summons Gina Raimondo, # 7 Summons
                 NMFS, # 8 Summons Debra Haaland, # 9 Summons FWS)(Kilduff, Catherine)
                 (Entered: 08/16/2022)
08/16/2022   2   SEALED DOCUMENT filed by CENTER FOR BIOLOGICAL DIVERSITY,
                 CORALATIONS, EL PUENTE re 1 Complaint, (This document is SEALED and only
                 available to authorized persons.)(Kilduff, Catherine) (Entered: 08/16/2022)
08/16/2022   3   LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                 Interests by CENTER FOR BIOLOGICAL DIVERSITY, CORALATIONS, EL
                 PUENTE (Kilduff, Catherine) (Entered: 08/16/2022)
08/19/2022   4   SUMMONS (8) Issued Electronically as to All Defendants, U.S. Attorney and U.S.
                 Attorney General (Attachment: # 1 Notice and Consent)(zmrl) (Entered: 08/19/2022)
08/19/2022       Case Assigned to Judge Carl J. Nichols. (zmrl) (Entered: 08/19/2022)
08/19/2022   5   STANDING ORDER. Signed by Judge Carl J. Nichols on August 19, 2022. (lccjn1)
                 (Entered: 08/19/2022)


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09/07/2022    6   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the
                  United States Attorney. Date of Service Upon United States Attorney on 9/1/2022.
                  Answer due for ALL FEDERAL DEFENDANTS by 10/31/2022. (Kilduff, Catherine)
                  (Entered: 09/07/2022)
09/07/2022    7   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed on
                  United States Attorney General. Date of Service Upon United States Attorney General
                  9/1/2022. (Kilduff, Catherine) (Entered: 09/07/2022)
09/07/2022    8   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. DEBRA
                  HAALAND served on 8/31/2022; NATIONAL MARINE FISHERIES SERVICE
                  served on 8/30/2022; GINA RAIMONDO served on 8/31/2022; SCOTT A.
                  SPELLMON served on 8/31/2022; U.S. ARMY CORPS OF ENGINEERS served on
                  8/31/2022; U.S. FISH AND WILDLIFE SERVICE served on 8/31/2022 (Kilduff,
                  Catherine) (Entered: 09/07/2022)
09/14/2022    9   NOTICE of Appearance by Michelle M. Spatz on behalf of All Defendants (Spatz,
                  Michelle) (Entered: 09/14/2022)
09/14/2022   10   NOTICE of Appearance by Julie Teel Simmonds on behalf of CENTER FOR
                  BIOLOGICAL DIVERSITY, CORALATIONS, EL PUENTE (Simmonds, Julie)
                  (Entered: 09/14/2022)
09/16/2022   11   NOTICE of Appearance by Cari Miyoko Sakashita on behalf of CENTER FOR
                  BIOLOGICAL DIVERSITY, CORALATIONS, EL PUENTE (Sakashita, Cari)
                  (Entered: 09/16/2022)
09/28/2022   12   NOTICE of Appearance by Heather E. Gange on behalf of All Defendants
                  (Attachments: # 1 Certificate of Service)(Gange, Heather) (Entered: 09/28/2022)
10/03/2022   13   NOTICE of Appearance by Christopher Charles Hair on behalf of All Defendants
                  (Hair, Christopher) (Entered: 10/03/2022)
10/31/2022   14   ANSWER to Complaint by DEBRA HAALAND, NATIONAL MARINE FISHERIES
                  SERVICE, GINA RAIMONDO, SCOTT A. SPELLMON, U.S. ARMY CORPS OF
                  ENGINEERS.(Spatz, Michelle) (Entered: 10/31/2022)
11/02/2022        MINUTE ORDER. Before the Court are a Complaint and Defendants' Answer. To the
                  extent this is an administrative review case, the requirements of Local Civil Rule 16.3
                  and Federal Rule of Civil Procedure 26(f) are inapplicable, thus it is hereby
                  ORDERED that Defendants shall file a certified list of the contents of the
                  administrative record by December 5, 2022. It is further ORDERED the parties shall
                  confer and jointly file a proposed schedule by December 19, 2022. Signed by Judge
                  Carl J. Nichols on November 2, 2022. (lccjn1) (Entered: 11/02/2022)
11/02/2022        Set/Reset Deadlines: Administrative Record due by 12/5/2022. Proposed Schedule due
                  by 12/19/2022. (zcal) (Entered: 11/02/2022)
12/05/2022   15   ADMINISTRATIVE RECORD Notice of Lodging of the Certified List of the Contents
                  of the Administrative Record by DEBRA HAALAND, NATIONAL MARINE
                  FISHERIES SERVICE, GINA RAIMONDO, SCOTT A. SPELLMON, U.S. ARMY
                  CORPS OF ENGINEERS, U.S. FISH AND WILDLIFE SERVICE. (Attachments: # 1
                  Exhibit USACE Administrative Record Index, # 2 Exhibit USACE Certification, # 3
                  Exhibit NMFS Administrative Record Index, # 4 Exhibit NMFS Certification, # 5
                  Exhibit FWS Administrative Record Index, # 6 Exhibit FWS Certification)(Spatz,
                  Michelle) (Entered: 12/05/2022)

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12/19/2022   16   PROPOSED BRIEFING SCHEDULE Joint Proposed Scheduling Order by DEBRA
                  HAALAND, NATIONAL MARINE FISHERIES SERVICE, GINA RAIMONDO,
                  SCOTT A. SPELLMON, U.S. ARMY CORPS OF ENGINEERS, U.S. FISH AND
                  WILDLIFE SERVICE. (Spatz, Michelle) (Entered: 12/19/2022)
12/29/2022   17   SCHEDULING ORDER. Signed by Judge Carl J. Nichols on December 29, 2022.
                  (lccjn1) (Entered: 12/29/2022)
12/29/2022        Set/Reset Deadlines: Administrative Record due by 12/30/2022. Appendix due by
                  5/5/2023. Cross Motions due by 2/24/2023. Response to Cross Motions due by
                  3/24/2023. Reply to Cross Motions due by 4/21/2023. Motions due by 1/27/2023.
                  Status Report due by 1/13/2023 Summary Judgment motions due by 1/27/2023.
                  Response to Motion for Summary Judgment due by 2/24/2023. Reply to Motion for
                  Summary Judgment due by 3/24/2023. (zcam) (Entered: 12/30/2022)
01/13/2023   18   Joint STATUS REPORT by DEBRA HAALAND, NATIONAL MARINE
                  FISHERIES SERVICE, GINA RAIMONDO, SCOTT A. SPELLMON, U.S. ARMY
                  CORPS OF ENGINEERS, U.S. FISH AND WILDLIFE SERVICE. (Spatz, Michelle)
                  (Entered: 01/13/2023)
01/20/2023   19   NOTICE of Lodging a Supplement to the Certified List of the Contents of the
                  Administrative Record and Amended Index by DEBRA HAALAND, NATIONAL
                  MARINE FISHERIES SERVICE, GINA RAIMONDO, SCOTT A. SPELLMON, U.S.
                  ARMY CORPS OF ENGINEERS, U.S. FISH AND WILDLIFE SERVICE
                  (Attachments: # 1 Exhibit USACE Supplemental Administrative Record Index, # 2
                  Exhibit USACE Supplemental Administrative Record Certification, # 3 Exhibit NMFS
                  Amended Administrative Record Index)(Spatz, Michelle) (Entered: 01/20/2023)
01/27/2023   20   MOTION for Summary Judgment by CENTER FOR BIOLOGICAL DIVERSITY,
                  CORALATIONS, EL PUENTE. (Attachments: # 1 Memorandum in Support, # 2
                  Declaration of F. Cintron Moscoso, # 3 Declaration of K. Clauser, # 4 Declaration of P.
                  Galvin, # 5 Declaration of F. Gonzalez, # 6 Declaration of M. Lucking, # 7 Declaration
                  of I. Rivera−Collazo, # 8 Declaration of S. Villaverde, # 9 Text of Proposed
                  Order)(Kilduff, Catherine) (Entered: 01/27/2023)
02/13/2023   21   NOTICE of Appearance by Sarah Izfar on behalf of All Defendants (Izfar, Sarah)
                  (Entered: 02/13/2023)
02/24/2023   22   Cross MOTION for Summary Judgment by DEBRA HAALAND, NATIONAL
                  MARINE FISHERIES SERVICE, GINA RAIMONDO, SCOTT A. SPELLMON, U.S.
                  ARMY CORPS OF ENGINEERS, U.S. FISH AND WILDLIFE SERVICE. (Spatz,
                  Michelle) (Entered: 02/24/2023)
02/24/2023   23   Memorandum in opposition to re 20 Motion for Summary Judgment, filed by DEBRA
                  HAALAND, NATIONAL MARINE FISHERIES SERVICE, GINA RAIMONDO,
                  SCOTT A. SPELLMON, U.S. ARMY CORPS OF ENGINEERS, U.S. FISH AND
                  WILDLIFE SERVICE. (Spatz, Michelle) (Entered: 02/24/2023)
03/24/2023   24   NOTICE of Appearance by Michael Ray Harris on behalf of Amigxs Del M.A.R.,
                  Toabajeos En Defensa Del Ambiente (Harris, Michael) (Entered: 03/24/2023)
03/24/2023   25   Unopposed MOTION for Leave to File Amicus Brief by Amigxs Del M.A.R.,
                  Toabajeos En Defensa Del Ambiente. (Attachments: # 1 Exhibit Proposed brief, # 2
                  Text of Proposed Order)(Harris, Michael) (Entered: 03/24/2023)
03/24/2023   26

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                  Memorandum in opposition to re 22 Motion for Summary Judgment filed by CENTER
                  FOR BIOLOGICAL DIVERSITY, CORALATIONS, EL PUENTE. (Kilduff,
                  Catherine) (Entered: 03/24/2023)
03/24/2023   27   REPLY to opposition to motion re 20 MOTION for Summary Judgment filed by
                  CENTER FOR BIOLOGICAL DIVERSITY, CORALATIONS, EL PUENTE.
                  (Kilduff, Catherine) (Entered: 03/24/2023)
04/10/2023        MINUTE ORDER. Upon consideration of 25 Motion for Leave to File Amicus Brief, it
                  is hereby ORDERED that the Motion is GRANTED. Signed by Judge Carl J. Nichols
                  on April 10, 2023. (lccjn3) (Entered: 04/10/2023)
04/10/2023   28   AMICUS BRIEF by AMIGXS DEL M.A.R., TOABAJENOS EN DEFENSA DEL
                  AMBIENTE. (Attachments: # 1 Certificate of Service)(Harris, Michael) (Entered:
                  04/10/2023)
04/21/2023   29   REPLY to opposition to motion re 22 Cross MOTION for Summary Judgment filed by
                  DEB HAALAND, NATIONAL MARINE FISHERIES SERVICE, GINA M.
                  RAIMONDO, SCOTT A. SPELLMON, U.S. ARMY CORPS OF ENGINEERS, U.S.
                  FISH AND WILDLIFE SERVICE. (Spatz, Michelle) (Entered: 04/21/2023)
05/05/2023   30   JOINT APPENDIX by CENTER FOR BIOLOGICAL DIVERSITY,
                  CORALATIONS, EL PUENTE. (Attachments: # 1 Volume 1, # 2 Volume 2, # 3
                  Volume 3, # 4 Volume 4, # 5 Volume 5, # 6 Volume 6, # 7 Volume 7, # 8 Volume
                  8)(Kilduff, Catherine) (Entered: 05/05/2023)
05/22/2023        MINUTE ORDER. Upon consideration of 20 Plaintiffs' Motion for Summary
                  Judgment and 22 Defendants' Cross−Motion for Summary Judgment, it is ORDERED
                  that the Parties shall appear for oral argument on June 5, 2023, at 3 PM EST in
                  Courtroom 17. Signed by Judge Carl J. Nichols on May 22, 2023. (lccjn3) (Entered:
                  05/22/2023)
05/30/2023   31   NOTICE of Appearance by Kristen Monsell on behalf of CENTER FOR
                  BIOLOGICAL DIVERSITY, CORALATIONS, EL PUENTE (Monsell, Kristen)
                  (Entered: 05/30/2023)
06/05/2023        Minute Entry for proceedings held before Judge Carl J. Nichols: Motion Hearing held
                  on 6/5/2023 re 22 Cross Motion For Summary Judgment And 20 Motion For Summary
                  Judgment. The Court Heard Oral Arguments From The Parties And Will Take Motions
                  Under Advisement. (Court Reporter SARA WICK.) (mac) (Entered: 06/06/2023)
07/06/2023   32   NOTICE OF SUBSTITUTION OF COUNSEL by Christophe Gagnon Courchesne on
                  behalf of AMIGXS DEL M.A.R., TOABAJENOS EN DEFENSA DEL AMBIENTE
                  Substituting for attorney Michael R. Harris (Courchesne, Christophe) (Entered:
                  07/06/2023)
07/24/2023   33   ORDER denying 20 Motion for Summary Judgment; granting 22 Motion for Summary
                  Judgment. Signed by Judge Carl J. Nichols on July 24, 2023. (lccjn3) (Entered:
                  07/24/2023)
07/24/2023   34   MEMORANDUM OPINION. Signed by Judge Carl J. Nichols on July 24, 2023.
                  (lccjn3) (Entered: 07/24/2023)
07/27/2023        MINUTE ORDER. In the Order dated July 24, 2023, the Court entered Summary
                  Judgment for Defendants on seven of the nine counts in the Complaint (and denied
                  Plaintiffs' cross−motion for summary judgment on the same counts). The parties are


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                  hereby ORDERED to submit a joint status report by August 11, 2023, with their
                  proposal for how to proceed as to the remaining two counts. Signed by Judge Carl J.
                  Nichols on July 27, 2023. (lccjn3) (Entered: 07/27/2023)
08/08/2023   35   STIPULATION of Dismissal by CENTER FOR BIOLOGICAL DIVERSITY,
                  CORALATIONS, EL PUENTE. (Kilduff, Catherine) (Entered: 08/08/2023)
08/21/2023   36   NOTICE OF APPEAL TO DC CIRCUIT COURT as to 33 Order on Motion for
                  Summary Judgment, 34 Memorandum & Opinion by CENTER FOR BIOLOGICAL
                  DIVERSITY, CORALATIONS, EL PUENTE. Filing fee $ 505, receipt number
                  ADCDC−10288709. Fee Status: Fee Paid. Parties have been notified. (Kilduff,
                  Catherine) (Entered: 08/21/2023)




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 EL PUENTE, et al.,

                Plaintiffs,                           Case No: 1:22-cv-02430-CJN

        v.

 U.S. ARMY CORPS OF ENGINEERS, et al.,

                Defendants.




                                      NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs El Puente, CORALations, and Center for Biological

Diversity appeal to the U.S. Court of Appeals for the District of Columbia Circuit from the Order

and accompanying Memorandum Opinion of this Court entered July 24, 2023 (ECF Nos. 33, 34),

in favor of Defendants and against Plaintiffs as to Counts 1, 2, 4, 5, 6, 7, and 8 of Plaintiffs’

Complaint. The parties stipulated to voluntary dismissal of Counts 3 and 9 on August 8, 2023

(ECF No. 35).


Dated: August 21, 2023.                        Respectfully submitted,

                                                s/ Catherine Kilduff
                                               Catherine Kilduff, DC Bar No. 1026160
                                               Julie Teel Simmonds, DC Bar No. CO0091
                                               Miyoko Sakashita, DC Bar No. CA00061
                                               CENTER FOR BIOLOGICAL DIVERSITY
                                               1212 Broadway, Suite 800
                                               Oakland, CA 94612
                                               (510) 844-7100
                                               ckilduff@biologicaldiversity.org
                                               jteelsimmonds@biologicaldiversity.org
                                               miyoko@biologicaldiversity.org

                                               Attorneys for Plaintiffs




                                                                                                    11
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


EL PUENTE, et al.,

              Plaintiffs,

      v.                                          Civil Action No. 1:22-cv-02430 (CJN)

U.S. ARMY CORPS OF ENGINEERS, et
al.,

              Defendants.


                                          ORDER

       This matter is before the Court on Plaintiffs’ Motion for Summary Judgment, ECF No. 20,

and Defendants’ Cross-Motion for Summary Judgment, ECF No. 22.

       For the reasons stated in the accompanying Memorandum Opinion, it is

       ORDERED that Plaintiffs’ Motion, ECF No. 20, is DENIED; it is further

       ORDERED that Defendants’ Motion, ECF No. 22, is GRANTED; and it is further

       ORDERED that summary judgment be entered in favor of Defendants as to Counts 1, 2,

4, 5, 6, 7, and 8 in the Complaint.


DATE: July 24, 2023
                                                         CARL J. NICHOLS
                                                         United States District Judge




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


EL PUENTE, et al.,

              Plaintiffs,

      v.                                             Civil Action No. 1:22-cv-02430 (CJN)

U.S. ARMY CORPS OF ENGINEERS, et
al.,

              Defendants.


                                 MEMORANDUM OPINION

       The U.S. Army Corps of Engineers approved the San Juan Harbor Navigation

Improvements Project in response to the House of Representative’s request to consider and

develop navigation improvements that might increase the Harbor’s safety, security, and efficiency.

The Project involves deepening and widening current shipping channels by dredging and then

disposing of the dredged material in a designated ocean disposal site. Plaintiffs, a cohort of

environmental groups, contend that the government violated various federal environmental laws

in approving the Project. For the reasons discussed below, the Court rejects those challenges,

denies Plaintiffs’ Motion for Summary Judgment, ECF No. 20, and grants Defendants’ Cross-

Motion for Summary Judgment, ECF No. 22.

                                      I.     BACKGROUND

                                 A.        Statutory Background

       Plaintiffs El Puente, CORALations, and the Center for Biological Diversity (hereinafter

“El Puente”) challenge the government’s approval of the Project under the Clean Water Act, the




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National Environmental Policy Act, and the Endangered Species Act. The Court therefore begins

a with brief overview of these statutes and the government’s obligations relating to the Project.

       The Clean Water Act (CWA) is “the principal federal law regulating water pollution in the

United States.” Sackett v. Env’t Prot. Agency, 143 S. Ct. 1322, 1329 (2023) (citing 33 U.S.C.

§ 1251 et seq.). It “prohibits ‘the discharge of any pollutant’ into ‘navigable waters,’” id. at 1330

(quoting 33 U.S.C. §§ 1311(a), 1362(12)(A)), and is jointly enforced by the EPA and the Army

Corps of Engineers, id. Section 404 of the CWA sets forth a framework for the regulation of the

discharge of dredged or fill material into “navigable waters”—or “waters of the United States,

including the territorial seas.” See 33 U.S.C. §§ 1344, 1362(7). That section allows the Corps to

issue permits for the discharge of dredged or fill material into the waters of the United States when

certain conditions are met. See 33 U.S.C. § 1344; 40 C.F.R. §§ 230 et seq.

       A related statute—the Marine Protection, Research and Sanctuaries Act (MPRSA)—

governs the discharge of dredged material into ocean waters. See 33 U.S.C. §§ 1402(b), 1411(b).

The MPRSA generally prohibits the dumping of dredged material into territorial seas or ocean

waters within twelve nautical miles from territorial seas without a permit, see id. §§ 1411, 1413(a),

although the Corps may issue regulations about dredged materials in lieu of the permit procedure,

id. § 1413(e). The MPRSA also empowers the EPA to designate certain ocean dumping sites or

Ocean Dredged Material Disposal Sites (hereinafter “Ocean Disposal Sites”). See id. § 1412(a).

By regulation, the dumping of dredged material into territorial seas is governed by the MPRSA,

while the dumping of fill material into territorial seas is governed by the CWA. See 40 C.F.R.

§ 230.2(b).

       The National Environmental Policy Act (NEPA) is an “essentially procedural” statute that

is designed to ensure that agencies make “fully-informed and well-considered decision[s]”



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regarding environmental impacts of federal projects. See Vt. Yankee Nuclear Power Corp. v. Nat.

Res. Def. Council, Inc., 435 U.S. 519, 558 (1978); accord Am. Rivers v. Fed. Energy Regul.

Comm’n, 895 F.3d 32, 49 (D.C. Cir. 2018) (“NEPA’s primary function is ‘information-forcing,’

compelling federal agencies to take a hard and honest look at the environmental consequences of

their decisions.” (citations omitted)). “To that end, the statute requires that each agency assess the

environmental consequences of major federal actions by following certain procedures during the

decision-making process.” Ctr. for Biological Diversity v. U.S. Dep’t of Interior, 563 F.3d 466,

474 (D.C. Cir. 2009) (quotations omitted) (alterations adopted).

       NEPA requires agencies to prepare an environmental impact statement for all “major

Federal actions significantly affecting the quality of the human environment.”            42 U.S.C.

§ 4332(C).   But if an agency is “unsure whether its proposed action will have significant

environmental impacts, it may first prepare an [environmental assessment].” Env’t Def. Ctr. v.

Bureau of Ocean Energy Mgmt., 36 F.4th 850, 872 (9th Cir. 2022) (quotation omitted). An

environmental assessment is a “‘concise, public document’ providing ‘sufficient evidence and

analysis’ for the agency to determine ‘whether to prepare an environmental impact statement.’”

Id. (quoting 40 C.F.R. § 1508.9(a)(1)). It is not meant to replace an environmental impact

statement, but rather is “intended to help an agency decide if an [environmental impact statement]

is warranted.” Id. If, after conducting an environmental assessment, the agency determines that

an environmental impact statement is not required, the agency must issue a “finding of no

significant impact” and briefly explain its reasoning. See 40 C.F.R. § 1508.9.

       The Endangered Species Act (ESA) protects endangered and threatened species and their

critical habitats. Under this statute, an agency is “required to ensure that any action undertaken by

the agency ‘is not likely to jeopardize the continued existence of any endangered species or



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threatened species or result in the destruction or adverse modification’ of critical animal habitats.”

Ctr. for Biological Diversity, 563 F.3d at 474 (quoting 16 U.S.C. § 1536(a)(2)). For “major

construction activities,” an agency is required to prepare a biological assessment to “evaluate the

potential effects of the action on listed and proposed species and designated and proposed critical

habitat” and to determine whether any of those species or habitats are “likely to be adversely

affected by the action.” 50 C.F.R. § 402.12(a)‒(b). Agencies are required to fulfill these

requirements “us[ing] the best scientific and commercial data available.” 16 U.S.C. § 1536(a)(2).

       Under the ESA, “[i]f an agency concludes that its action ‘may affect’ a listed species or

critical habitat, then the agency must pursue either formal or informal consultation” with the

National Marine Fisheries Service or the Fish and Wildlife Service (depending on the species or

habitat). See Ctr. for Biological Diversity, 563 F.3d at 474‒75 (citing 50 C.F.R. §§ 402.13,

402.14). Informal consultation entails correspondence between the agency proposing government

action and the relevant wildlife agency to determine whether the action “may affect listed species

or critical habitat” and therefore requires formal consultation. See 50 C.F.R. §§ 402.13(a),

402.14(a). “During informal consultation, the [wildlife agency] may suggest modifications to the

action that the [f]ederal agency and any applicant could implement to avoid the likelihood of

adverse effects to listed species or critical habitat.” Id. § 402.13(b). If the wildlife agency

determines that the action is not likely to adversely affect the listed species or critical habitat, it

generally provides a written concurrence and ends consultation. See id. §§ 402.13(c); see also

402.14(b)(1) (defining an exception to the formal consultation requirement when a federal action

is “not likely to adversely affect any listed species or critical habitat”). Formal consultation, in

turn, requires a more thorough evaluation and “culminates in the wildlife agency issuing a

‘biological opinion’” in which “the wildlife agency comprehensively examines the proposed



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action’s anticipated effect on listed species and critical habitat.” Shafer & Freeman Lakes Env’t

Conservation Corp. v. Fed. Energy Regul. Comm’n, 992 F.3d 1071, 1079 (D.C. Cir. 2021) (citing

16 U.S.C. § 1536(b); 50 C.F.R. § 402.14).

                                  B.      Factual Background

       The San Juan Harbor is located on Puerto Rico’s northern coast and is home to the

territory’s largest port. See Answer ¶ 1, ECF No. 14. The Harbor “requires periodic maintenance

dredging” every five to seven years “to maintain authorized depths.” USACE_000067. Since

1975, the dredged material has been deposited in an Ocean Disposal Site approximately 2.2

nautical miles north-northwest of the entrance to the Harbor. Id. The dredged material is

transported from the Harbor to the Ocean Disposal Site using “scows” that all “leak to some

extent.” USACE_000178; see also USACE_000091.

       In 2006, the U.S. House of Representatives tasked the Secretary of the Army with

determining the feasibility of improving navigation in the Harbor to “increase security, safety, and

efficiency.” See USACE_000032, 54. Thereafter, the Corps conducted a study and identified

three primary navigation problems in the Harbor: “difficult wind and wave conditions, limited

channel and turning basin widths, and insufficient [f]ederal channel depths.” USACE_000033.

The Corps determined that these problems created several concerns for vessels using the Harbor.

Restrictive channel depths required petroleum tankers to “light load,” resulting in “additional

transits to provide the required quantities of gasoline, jet fuel, diesel fuel, and other petroleum

products for the island” and forcing vessel operators to forego potential “cost savings from the

economies of scale associated with existing and larger ships drafting deeper.” Id. Current channel

widths limited access of larger petroleum tankers, including those used for liquid natural gas

(LNG). Id. And cruise ships struggled to maneuver or turn, “increasing transit time within the

harbor.” Id.
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       Before recommending a plan for the Project, the Corps engaged in a variety of

environmental analyses and procedural processes. The Court details only the steps relevant to El

Puente’s claims here.

       1.      NEPA and CWA Analysis

       In the fall of 2015, the Corps published a letter of intent to prepare a feasibility study and

an environmental impact statement regarding potential navigation improvements in the Harbor.

See USACE_007577. The Corps subsequently held a scoping meeting, solicited views and

comments from the public and experts, and coordinated with other agencies. See USACE_000201.

The Corps issued a draft environmental assessment and requested public comments in August

2017. USACE_000191. During the public comment period, Hurricanes Irma and Maria hit Puerto

Rico. See USACE_002530; Answer ¶ 71.

       In August 2018, the Corps published its finalized Environmental Assessment.

USACE_000028‒217. The Assessment addressed the comments, explained the Corps’s analyses

of the various environmental issues, and recommended proceeding with the Project.                See

USACE_000206.

       The Project involves deepening, widening, and expanding several channels in the Harbor.

USACE_000034. It includes a “base plan” for the disposal of 2.2 million cubic yards of dredged

material into an existing Ocean Disposal Site about two miles offshore, as well as options to place

the dredged material elsewhere (such as Condado Lagoon) if there would be a “beneficial use” for

such materials. See USACE_000034, 136. Pursuant to the MPRSA, the Corps applied the Site

Management and Monitoring Plan developed in 2011 for disposal into the Ocean Disposal Site.

USACE_013099‒148.

       According to the Corps, the Project is not aimed at increasing the Harbor’s capacity, but at

enabling the Harbor to handle current traffic more efficiently. USACE_000153. The Corps
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concluded that the “entire project is economically justified,” as the estimated cost of the Project is

approximately $54 million, while projected net benefits are $60 million if Puerto Rico converts

two San-Juan area power plants from diesel fuel to liquified natural gas (LNG) and $2 million if

Puerto Rico continues to rely on diesel fuel. USACE_000034‒35. The Corps also explained the

“uncertainty surrounding the anticipated conversion” of the two San Juan power plants to LNG.

USAACE_000038, 151‒52.

       The Corps engaged in various environmental analyses, including regarding environmental

justice, air pollution, and the impact on corals. With respect to environmental justice, the Corps

analyzed the population within a one-mile radius of the Project site and found that population

density of minorities in that radius was lower than the rest of San Juan and that the percent of

households living under the poverty line in that area was about the same as households in the

surrounding areas. USACE_022648. The Corps concluded that “no group of people would bear

a disproportionately higher share of adverse environmental consequences resulting from the

proposed work.” USACE_000196.

       As for air quality, the Corps analyzed the potential effects of the Project using EPA’s

Compilation of Air Pollutant Emission Factors: AP-42 tool and concluded that the difference

between future without-project and with-project vessel emissions was minimal (0–10%).

USACE_000180. The Corps acknowledged that emissions could be expected for the duration of

the Project, but concluded that those emissions would be offset by the long-term decrease in

emissions once the Project improved navigation of commercial vessels and “facilitate[d] newer,

larger, cleaner, more efficient vessels to reach the port.” Id.

       For corals, the Corps completed an informal consultation with the National Marine

Fisheries Service, see infra at Part I(B)(2)(a), considered the direct effects of dredging and disposal



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on the corals, and assessed the indirect effects using a 150-meter estimated indirect impact zone.

See USACE_000167. The 150-meter zone was chosen “based on a review of the results of in-

water coral sedimentation monitoring associated with the 1980-81 Port Everglades deepening

project . . . and Key West dredging project in 2004.” Id.

       The Corps also considered risks to historic and cultural resources. The Corps found that

“[e]rosion of San Juan Harbor shorelines is controlled predominantly by wind waves and tidal

currents” and that “[t]he relative infrequency of cargo vessel wakes compared with wind waves

makes them a minor factor contributing to shoreline changes and erosion.” USACE_000184. The

Corps concluded that, because the Project would result in fewer cargo vessels in the Harbor, “all

of the deepening alternatives would generally result in lower impacts to shorelines and existing

protective revetments” and thus “no adverse impacts to historical properties, including Castillo de

San Felipe del Morro, are anticipated.” Id. (emphasis added). For similar reasons, the Corps

concluded that there would be no adverse effect to the viewshed of historic properties because the

Project is expected to result in fewer total ships in the Harbor. See id.

       The Corps analyzed the potential seabed damage and the impact of the Project on vessel

collisions in the Harbor. The Corps determined that the expected effects of the Project on benthic

life would be the same as during maintenance dredging, USACE_000134, and, after considering

six scientific studies, concluded that although “initial loss of benthic resources [is] likely, quick

recovery between six months . . . to two years . . . is expected.” USACE_000168. The Corps

explained that the Harbor “is known to have many groundings, allisions[,] and collisions” and that

the “entrance channel also presents significant navigational challenges including bar channel

winds and waves causing ships to roll and heel and winds, waves[,] and currents in the entrance

channel caus[ing] ships to alter their speed resulting in squat and sinkage”; the Project, the Corps



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concluded, “will help improve these conditions for vessels transiting the entrance channel.” See

USACE_003456.

        Finally, the Corps looked at the cumulative impact of the Project with “past, present, and

reasonably foreseeable actions” in the same area, see Grand Canyon Tr. v. Fed. Aviation Admin.,

290 F.3d 339, 345 (D.C. Cir. 2002), and alternatives to the Project’s proposed parameters. The

Corps considered the Project in light of the U.S. Coast Guard’s plan for the expansion of another

part of the San Juan Bay—Anchorage Area F—and concluded that the cumulative effects on

benthic resources would be minimal. See USACE_000189. The Corps further concluded that “the

net contribution to cumulative adverse impacts due to the proposed project and the overall

cumulative adverse impact will be appropriately minimized based on” efforts to avoid and mitigate

environmental impacts and federal and state permitting requirements for the proposed and

potential future actions. Id. The Corps considered three potential beneficial-use sites as alternative

disposal sites to the Ocean Disposal Site, see USACE_000141‒42, and “100 possible deepening

and widening alternatives” which it narrowed down to seven by considering technical constraints,

completeness, effectiveness, efficiency, and acceptability, see USACE_000125‒26, 128. The

Corps also considered a “no action” alternative, USACE_000121, but determined that taking no

action would result in a “greater increase in ship transits, . . . result[ing] in greater risk to threatened

and endangered species, and more air pollution,” USACE_000131.

        2.      ESA Analysis

                a.      Corals

        As required by Section 7 of the ESA, the Corps submitted a Biological Assessment in July

2017 to the National Marine Fisheries Service, requesting formal consultation for certain species

and informal consultation as to others, including seven listed corals. See NMFS_00177, 200. The

Corps concluded in the Biological Assessment that the Project “may affect, but is not likely to

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adversely affect listed corals in the project area.” NMFS_00237. According to the Corps, “[a]ll

seven of the listed corals are found in the Caribbean and have the potential to be found on the

hardbottom habitats near and surrounding the entrance to San Juan Harbor.” NMFS_00207.

Although there is a designated critical habitat for elkhorn and staghorn corals around the Puerto

Rican coast, the Corps explained that “the portion of the harbor that is inside San Juan Bay is not

[designated critical habitat] for” those species. NMFS_00211. Additionally, the designated

critical habitat is “at least 1,700 feet to the west of the entrance channel and approximately 3,000

feet” from the “closest area to be dredged.” NMFS_00235‒36. And there was not a designated

critical habitat for the other five species of corals. NMFS_00220.

       The Corps acknowledged that, in general, dredging “may affect light penetration into the

water column as a result of turbidity, and may also result in burial from sedimentation, which can

destabilize the benthic community.” NMFS_00232. But the Corps explained that the “corals that

may have recruited to the rock areas to the east and west of the channel entrance are [already]

exposed to very high levels of background sedimentation” and therefore “are more tolerant to these

conditions than those located in clearer, less turbid waters.” NMFS_00237. The Corps also

explained why the “temporary effects to corals associated with dredging” experienced in a recent

dredging project in Miami wouldn’t necessarily occur in San Juan Harbor, in part because the

corals in Miami “were located immediately adjacent to the channel.” NMFS_00235. Additionally,

the Corps explained that “while the potential exists for sedimentation from the project to be carried

out of the [Harbor] on an outgoing tide and deposited on the [designated critical habitat], it will

likely be a very low volume of material, as only the smallest of grain sizes will remain in the water

column for that distance.” NMFS_00236. The Corps concluded that disposing of the dredged

materials in the Ocean Disposal Site “will have no effect on the listed corals” or the designated



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critical habitat. NMFS_00239. And the Corps explained that turbidity monitoring is required for

all its projects. NMFS_00238.

         In May 2018, the National Marine Fisheries Service issued a written concurrence that the

Project was not likely to adversely affect the listed corals or their critical habitat. NMFS_00019‒

22. The Fisheries Service explained that because no listed corals were found within the dredging

area, the Project would not result in the direct removal of listed corals. NMFS_00020. As to

indirect effects, the type of sediment in the Harbor—as well as the turbidity monitoring plan

limiting project-related turbidity to 7 NTU 1 or less above background levels and implementing

adaptive-management measures—led the Fisheries Service to conclude that any effects on corals

would be “discountable.” NMFS_00020‒21. And for the designated critical habitat “2,500 [feet]

north of the dredging area and adjacent to the disposal routes,” the Fisheries Service concluded

that with the implementation of the turbidity monitoring plan, the effects would also be

“discountable.” NMFS_00021‒22.

                 b.     Manatees

         The Corps also submitted a Biological Assessment to the Fish and Wildlife Service and

requested informal consultation as to the Antillean manatee in August 2017. FWS_01349. The

Corps concluded that the Project may affect, but was not likely to adversely affect, manatees.

FWS_01349‒50. The Corps acknowledged that the Antillean manatee “inhabits the coastal waters

of Puerto Rico, and has been documented both feeding and traveling in the San Juan Bay and

Harbor,” where seagrass and other submerged aquatic vegetation grows. FWS_01364. But the

Corps concluded that the Project would have “negligible effects on manatee foraging habitat”

because the mangrove wetlands and submerged aquatic vegetation were too far from the dredging


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    “NTU,” or “Nephelometric Turbidity Units,” is a measure of cloudiness. See Pls.’ Mot. at 28.

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area to experience direct or indirect effects. See FWS_01365. The Corps also concluded that the

Project would result in fewer ships calling to port by allowing both larger ships and fully-loaded

ships to reach the port, which would, in turn, “reduce the potential for vessel strikes to manatees.”

Id. During the dredging and disposal operations, “observers would be required to monitor for the

presence of Antillean manatees” and “operations would be shut[ ]down should a manatee come

within 50-feet or closer to in-water operations.” Id.; see also FWS_1366‒67 (identifying other

environmental commitments that would be in place to reduce the potential effects of the dredging

project on manatees).

       In June 2018, the Fish and Wildlife Service issued a written concurrence that the Project

was not likely to adversely affect manatees. FWS_0047‒51. The Wildlife Service’s concurrence

included a Coordination Action Report for the Project that included specific measures to address

potential effects on manatees and their habitat. FWS_00047. For example, the Project must have

a “protective species watch plan”; all in-water activities must be shut down if a manatee comes

within 50 feet of the active construction site during daytime hours or within 75 feet during

nighttime construction; certain lights will be used during nighttime dredging to permit the

continued observation of manatees; and all vessels in shallow waters must operate at “no

wake/idle” speed. FWS_00048‒49.

       3.      Project Authorization

       The Project was recommended by the Chief of Engineers in August 2018.

USACE_000004‒08. Congress authorized the Project in October 2018. See America’s Water

Infrastructure Act of 2018, Pub. L. No. 115-270, 132 Stat. 3765. The Corps finally approved the

Project in November 2018 with a finding that it would have no significant impact to the human

environment, and therefore an environmental impact statement would not be required.

USACE_000001‒03.
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        A few events have occurred since authorization. First, in November 2020, the National

Marine Fisheries Service proposed a critical habitat for certain threatened corals in the Caribbean. 2

Endangered and Threatened Species; Critical Habitat for the Threatened Caribbean Corals, 85 Fed.

Reg. 76,302 (Nov. 27, 2020). The Corps did not re-initiate consultation with the National Marine

Fisheries Service to consider the effects of the Project on the newly proposed critical habitat. See

Defs.’ Reply at 43‒44, ECF No. 29. Second, in January 2023, the Corps supplemented its

environmental assessment and clarified that during initial construction, the Corps will deposit

dredged material only in the Ocean Disposal Site and not in Condado Lagoon. USACE_024449.

The Supplemental Environmental Assessment also explained that in response to public comments,

the Corps expanded its environmental justice analysis area to a five-mile radius and still concluded

that the Project “will not have disproportionately high or adverse impacts on low income or

minority communities.” USACE_024688‒89.

                                    C.      Procedural History

        El Puente sued the Corps, the National Marine Fisheries Service, the Fish and Wildlife

Service, and other federal defendants in August 2022. See Compl., ECF No. 1. El Puente later

filed a Motion for Summary Judgment, ECF No. 20, 3 and the government responded with a Cross-

Motion for Summary Judgment, ECF No. 22. The Court held a hearing on the motions on June 5,

2023.




2
 The parties dispute whether this proposed habitat overlaps with the Project’s dredging sites.
Compare Pls.’ Mot. at 53, with Defs.’ Cross-Mot. at 59.
3
 El Puente’s complaint includes nine claims for relief but it seeks summary judgment only as to
seven of them. Compare Compl. with Pls.’ Mot.

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                                 II.     LEGAL STANDARDS

         Summary judgment shall be granted “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a).

         Under the Administrative Procedure Act, a “reviewing court shall . . . hold unlawful and

set aside agency action, findings, and conclusions found to be . . . arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). An agency is

required to “examine the relevant data and articulate a satisfactory explanation for its action.”

Motor Vehicle Mfrs. Ass’n of the U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

An agency decision is arbitrary and capricious if the agency “entirely failed to consider an

important aspect of the problem” or “offered an explanation for its decision that runs counter to

the evidence before the agency.” Id. In reviewing that explanation, the court “must consider

whether the decision was based on a consideration of the relevant factors and whether there has

been a clear error of judgment.” Id. (quotation omitted). The scope of this review is “narrow” and

the reviewing court “is not to substitute its judgment for that of the agency.” Id.

         NEPA requires agencies to “take a ‘hard look’ at the reasonably foreseeable impacts of a

proposed major federal action.” Indian River Cnty. v. U.S. Dep’t of Transp., 945 F.3d 515, 533

(D.C. Cir. 2019) (internal citation omitted). And when consulting on the impacts of an agency

action on a listed species and their critical habitat, the ESA requires agencies to “use the best

scientific and commercial data available.” 16 U.S.C. § 1536(a)(2).




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                                         III.   ANALYSIS

A.     The Corps and the Wildlife Agencies Complied With the Endangered Species Act.

       1.      The National Marine Fisheries Service Reasonably Concluded That
               the Project Is Not Likely to Adversely Affect the Listed Corals.

       El Puente argues that the National Marine Fisheries Service’s determination that the Project

was not likely to adversely affect ESA-listed corals was arbitrary and capricious. See Pls.’ Mot.

at 42; accord Compl. at ¶¶ 150‒55 (Count 5). El Puente claims that the Fisheries Service

“anticipated that each of the . . . Project’s 977 scow trips” could leak up to “[o]ne foot of loss per

trip, or more,” leading to a significant amount of sediment leakage. Pls.’ Mot. at 44 (citing

USACE_001647‒48, 1709). El Puente urges that the monitoring plan is not specific enough to

avoid formal consultation, and also that the plan will provide insufficient protection to the listed

corals. See id. at 46. El Puente also criticizes the Fisheries Service’s reliance on “outdated and

generic measures from 2011 that failed to prevent leaking scows in Miami,” id. at 47, and contends

that the Fisheries Service erred in failing adequately to consider the results of the Port of Miami

dredging project, id. at 44, 48.

       The Court concludes that the Fisheries Service’s not-likely-to-adversely-affect

determination was not arbitrary and capricious. The Fisheries Service used the best-available

science, considered all the relevant factors, and made no clear errors of judgment.

       To start, El Puente misreads the record as to the estimated scow leakage per trip. The

government did not predict “[o]ne foot of loss per trip, or more” for the scows, but rather warned

that “[o]ne foot of loss per trip, or more, could amount to a significant amount of sediment on the

reef there.” USACE_001709 (emphasis added). El Puente points to no evidence of a predicted or

expected loss amount of a foot or more per trip, and the Court has not been able to find such

evidence in the administrative record.


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       Additionally, the monitoring plan is not just “a plan to make a mitigation plan to avoid

formal consultation.” See Pls.’ Mot. at 46. Instead, the plan contains specific guardrails, such as

the limit of 7 NTU above background before mitigation measures are triggered; the placement of

“turbidity monitoring stations adjacent to ESA-listed corals” and “at the edges of the designated

critical habitat for elkhorn and staghorn corals near the disposal vessel transit route”; and the

requirement that the monitoring plan include adaptive management measures should turbidity

exceed 7 NTU above background. NMFS_00011‒12. That turbidity limit was chosen based on

the background turbidity levels in the Harbor, scientific studies indicating that “[t]olerance of

corals to elevated suspended sediment varies from reef to reef, and depends on background

turbidity conditions and hydrodynamic setting,” see USACE_017470, past dredging projects

where the Corps successfully limited turbidity to the Puerto Rican limit of 10 NTU above

background and the turbidity variance during construction “rarely exceeded 5 NTU,”

USACE_001718, and several scientific studies, see, e.g., NMFS_00693‒700 (Fourney &

Figueiredo study). 4



4
  El Puente relies on a 2017 Fourney & Figueiredo study to contend that “the proposed trigger for
management at 7 NTUs above background will not prevent coral harm” and “[t]o avoid deleterious
effects, the maximum allowable turbidity near coral reefs during short-term construction events
should be 7 NTU or less.” Pls.’ Mot. at 46. But that study is not as straightforward as El Puente
makes it seem. See NMFS_00693‒700. The suggested turbidity limit of 7 NTU in the study was
both responsive to potential ocean warming above current temperatures and limited to
anthropogenic, as opposed to natural, sedimentation, even though natural sedimentation
contributes to the total turbidity level. Id. Importantly, the study—which demonstrated that
natural sedimentation “aided the survival of corals recruits”—only considered ideal levels of
anthropogenic sedimentation without any natural sedimentation. See NMFS_00698. It is also not
clear that the study’s suggested limit maps on to the corals in San Juan Harbor, which are tolerant
of high background levels of turbidity. See, e.g., USACE_001718 (background turbidity of 9.81
NTU in 2007 and 7.01 in 2017 during past dredging projects). Therefore, although the study has
some import for determining ideal turbidity limits at current temperatures, it was not a clear error
in judgment for the Fisheries Service to decline to adopt the 7 NTU total limit suggested by the
study.

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       The Fisheries Service also did not act arbitrarily or capriciously in relying on the 2011 Site

Management and Monitoring Plan developed by the Corps and EPA for the Ocean Disposal Site.

The Corps and the EPA are required to prepare such a plan every ten years by statute, see 33 U.S.C.

§ 1412(c)(3), and so the 2011 Plan was the operative plan at the time that the Fisheries Service

issued its concurrence in 2018, see NMFS_00113, 118.

       Finally, the Fisheries Service’s consideration of data and information from the Port of

Miami dredging project was not arbitrary and capricious. The Fisheries Service did consider the

Port of Miami project during the initial ESA consultation about corals. 5 But it determined that

there were reasons to believe that dredging in San Juan would not have the same results as in

Miami. First, the two locations have materially different geographies. The Port of Miami project

involved a “very long outer entrance channel” extending into the open ocean and a “strong velocity

current which can have speed up to 4.9 knots” running south to north that can carry sediments far

beyond the dredging area. NMFS_00001‒02 (2022 Memorandum). The San Juan Harbor, on the

other hand, “lacks a long entrance channel” and “is not subjected to the same hydrodynamic

processes . . . which can lead to sediment being carried long distances from the dredging area.”

NMFS_00002. Second, there is “significantly less material to be dredged at San Juan Harbor”—

about one third of the material dredged from the Port of Miami—“and it is of a different

composition.” NMFS_00001‒02 Third, the Port of Miami project used rock-chopping methods

that create fine sediment known to cause greater harm to corals, and these methods will not be


5
  See, e.g., USACE_001709 (“The scows themselves have sensors on them that indicate if there is
leakage. . . . We’ll indicate quantities and if there is a loss. We did see that in Miami. It was
looked at very carefully and considered as we were moving forward. We took some scows offline
and determined if there was something keeping them from closing. Based on conditions out there
we will implement lessons learned from Miami and follow up on what the sensors indicate.”);
NMFS_00172 (“NMFS is concerned about the statements and conclusions drawn in the
B[iological] A[ssessment] based on the reports from the Port of Miami project.”).

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used in the Harbor. See id. In sum, the government neither “entirely failed to consider an

important aspect of the problem” nor “offered an explanation for its decision that runs counter to

the evidence.” See State Farm, 463 U.S. at 43. 6

       2.      The Fish and Wildlife Service Reasonably Concluded That the Project
               Is Not Likely to Adversely Affect the Antillean Manatee.

       El Puente argues that, in providing its concurrence that the Project is not likely to adversely

affect the Antillean manatee, the Fish and Wildlife Service failed to sufficiently consider the

impacts of noise pollution, vessel strikes, and seagrass destruction. Pls.’ Mot. at 49‒51; accord

Compl. at ¶¶ 156‒59 (Count 6). El Puente further argues that the predicted decrease in vessel

traffic following completion of the Project did not excuse the Wildlife Service from analyzing

vessel-manatee collisions, as “larger-capacity, larger-sized vessels are more deadly for manatees.”

Pls.’ Reply at 50 (citing USACE_026941), ECF No. 26. And El Puente similarly contends that

the Wildlife Service was not excused from considering the Project’s impacts to seagrass just

because the Harbor is not a significant source of seagrass. Id. at 51.

       Again, the Wildlife Service’s determination was not arbitrary and capricious. El Puente

has not identified an important factor that the Wildlife Service failed to consider or a clear error in

judgment.    The administrative record instead reflects that the Wildlife Service reasonably

concluded that the Project will ultimately result in less vessel traffic (and thus fewer manatee

strikes), as well as a commitment to protect manatees during construction. See FWS_01365‒67.

The study cited by El Puente to assert that “larger-capacity, larger-sized vessels are more deadly



6
  The Fisheries Service’s 2022 Memorandum outlining the reasons to treat the Harbor differently
than the Port of Miami is not a post-hoc rationalization. Instead, it memorializes the determination
that the 2019 Miami study—which was published after ESA consultation about the corals—did
not require re-initiation of consultation between the Corps and the Fisheries Service, see
NMFS_00001‒02. El Puente does not argue in its Motion for Summary Judgment that the failure
to re-initiate consultation was unlawful.
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for manatees” was published after the Wildlife Service issued its concurrence and therefore was

not in the record considered by the agency. See Defs.’ Reply at 41 n.15 (citing USACE_026941).7

The administrative record also reflects that the Wildlife Service considered the Project’s effects

on seagrass and determined that the effects on manatee foraging habitat would be “negligible.”

FWS_01365. And the noise pollution threshold identified by El Puente does not apply to animals

within the purview of the Wildlife Service. USACE_006239 (technical guidance specifying that

it “does not pertain to marine mammal species under the []FWS’s jurisdiction (e.g., walrus, polar

bears, manatees, sea otters)”). 8

        3.      The Corps Was Not Required to Confer With the National Marine
                Fisheries Service On the Proposed Critical Habitat.

        El Puente also argues that the Corps unlawfully failed to confer with the Fisheries Service

on a proposed critical habitat for five threatened corals in Puerto Rico. Pls.’ Mot. at 52; Compl. at

¶¶ 162‒166 (Count 7). In particular, in November 2020—two years after the Fisheries Service

issued its written concurrence that the Project was not likely to adversely affect the listed corals or

their critical habitat—the Fisheries Service proposed a rule that would designate approximately


7
 The study also does not support El Puente’s argument that the Corps’s decision was unreasonable.
The study explains that “[i]ncreased boating activity and boat density have been predictably linked
to higher probability of manatee-boat collisions,” which is consistent with the government’s
conclusion that decreased vessel traffic will be safer for manatees, even if the vessels are larger.
See USACE_026941. And the study explains that manatees are “acutely at risk from vessels in
shallow water” and so the “use of deep water routes by construction-associated vessels whenever
possible also reduce risks to manatees,” suggesting that the deeper channels post-construction will
make the Harbor safer for manatees in the future. See id. In other words, the study, taken as a
whole, would not have rendered the Corps’s decision unreasonable, even if it had been published
before the concurrence was issued.
8
  El Puente argues that because the Services’ concurrences were flawed, it was unlawful for the
Corps to rely on them. Pls.’ Mot. at 52; accord Compl. at ¶¶ 167‒68 (Count 8). The Court
disagrees: because the concurrences were not arbitrary and capricious, it was lawful for the Corps
to rely on them.



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15,000 square kilometers of the Caribbean as a designated critical habitat for certain corals. 85

Fed. Reg. 76,302. El Puente acknowledges that the proposed rule was published after the

concurrence, but argues that the Corps was required to confer with the Fisheries Service on the

impacts to the critical habitat because the Service “continued to consult on impacts to endangered

species through 2021.” Pls.’ Mot. at 54.

       The Court disagrees. Because the proposed rule was published long after the Fisheries

Service’s concurrence was issued and consultation was terminated, see 50 C.F.R. §§ 402.14(m)(1)

(formal consultation), 402.13(c) (informal consultation), the Corps was only required to confer

with the Fisheries Service if the proposed rule triggered what is known as re-initiation, see id.

§ 402.16(a). But proposals to designate critical habitats do not trigger a requirement to re-initiate

consultation, id., and so the Corps acted lawfully.

B.     The Corps Complied With the National Environmental Policy Act.

       El Puente claims both that the Corps’s Environmental Assessment is inadequate under

NEPA and that NEPA independently required the Corps to complete an environmental impact

statement. Pls.’ Mot. at 12, 38; accord Compl. at ¶¶ 133‒42 (Counts 1 & 2).

       1.       The Environmental Assessment Was Adequate Under NEPA.

       With respect to the Environmental Assessment, El Puente contends that it was inadequate

because the Corps failed to take a “hard look” at (1) connected actions, particularly new LNG

infrastructure that may be built in the Harbor and potential additional dredging; (2) environmental

justice communities; (3) air pollution; (4) impacts to corals; (5) risks to historic resources; (6)

seabed damage and risks of oil spills and LNG accidents; (7) cumulative impacts; and (8) a

reasonable range of alternatives. See Pls.’ Mot. at 13. Because the Corps adequately considered

all these environmental considerations, the Court concludes that the Environmental Assessment

was adequate.

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       Starting with connected actions, it is undisputed that an agency must consider “connected

actions” in its NEPA review. 40 C.F.R. § 1508.25(a)(1). Actions are “connected” if, among other

things, they “[c]annot or will not proceed unless other actions are taken previously or

simultaneously” or they are “interdependent parts of a larger action and depend on the larger action

for their justification.” Id. § 1508.25(a)(1)(ii)‒(iii). Courts consider several factors to determine

whether actions are “connected,” including “whether one project will serve a significant purpose

even if a second related project is not built” and the “commercial and financial viability of a project

when considered in isolation from other actions.” City of Boston Delegation v. Fed. Energy Regul.

Comm’n, 897 F.3d 241, 252 (D.C. Cir. 2018) (quotations omitted).

       In El Puente’s view, LNG infrastructure is a “connected action” in the context of the

Project—and thus the Corps was required to assess the environmental impact of that action. See

Pls.’ Mot. at 13‒16. More specifically, El Puente argues that “[t]he LNG infrastructure has no

independent utility without the dredging, which is necessary for most LNG tankers to navigate the

Bay.” Id. at 15. And El Puente asserts that “[b]oth projects were planned to be constructed around

the same time” and “require federal approvals.” Id.

       The Corps did not improperly segment the Project from LNG infrastructure. To start,

potential LNG infrastructure in Puerto Rico is not a wholly federal affair. Although the conversion

of power plants to LNG would require approval from the Federal Energy Regulatory Commission,

whether an application is ever filed is in the hands of the Puerto Rico Electric Power Authority

(PREPA) and the private organizations partnering with PREPA. See USACE_001722. No such

application had been filed at the time of the Environmental Assessment, see USACE_000151, so

it could not have been considered a FERC project at that time. Because “[t]he connected-actions

doctrine does not require the aggregation of federal and non-federal actions,” see Big Bend



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Conservation All. v. Fed. Energy Regul. Comm’n, 896 F.3d 418, 424 (D.C. Cir. 2018), the

possibility of LNG infrastructure did not need to be considered as a “connected action” to the

Project.

       Puerto Rico’s conversion to LNG is also uncertain. Although PREPA did state that its

$350 million investment into LNG infrastructure would be dependent on the Project’s happening,

see USACE_001722, the Corps reasonably concluded that whether PREPA will move forward

with this conversion was subject to great “uncertainty” at the time of the Environmental

Assessment, see USACE_000038, 151. The Corps detailed this uncertainty in the Environmental

Assessment itself:

                The combination of PREPA’s 2017 bankruptcy, frequent changes to
                plans including a 2018 announcement by the Governor of Puerto
                Rico calling for privatization of PREPA, and the damage caused by
                Hurricanes Irma and Maria have created a climate of uncertainty
                surrounding if and when the LNG investment and conversion will
                occur.

USACE_000151; see also id. (“There is a level of uncertainty surrounding PREPA’s conversion

to LNG and the timing of the conversion.”). The Corps also decided that “[r]egardless of which

scenario actually occurs, the Recommended Plan remains the same, the exact same Federal

navigation improvements are proposed.”        USACE_000152.       “In view of the uncertainty

surrounding the [LNG infrastructure], and the difference in timing between the two projects, this

discussion suffices under NEPA.” See Minisink Residents for Env’t Pres. & Safety v. Fed. Energy

Regul. Comm’n, 762 F.3d 97, 113 (D.C. Cir. 2014).

       To be sure, the Corps did discuss the possibility that Puerto Rico would convert some of

its energy usage to LNG in its consideration of whether to move forward with the Project. But the

Corps did so to ensure that the Project was economically justified. See USACE_000034‒35. In

particular, the Corps considered the economics of the Project with and without LNG conversion,


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and concluded that the Project was economically justified either way. See id. Other references to

potential LNG benefits throughout the Environmental Assessment do not prove that the conversion

to LNG (and the construction of related infrastructure) is a connected action; LNG benefits were

never used as the sole justification or counterweight to potential negative effects of the Project,

and the Corps has no control over whether Puerto Rico ultimately decides to convert to LNG. See,

e.g., USACE_000033. The Corps therefore reasonably concluded that the Project will “serve a

significant purpose even if [the LNG infrastructure is] not built” and that the Project has

“commercial and financial viability . . . when considered in isolation.” See City of Boston

Delegation, 897 F.3d at 252. 9

       As for potential effects of the Project on environmental justice communities, the Corps did

take a “hard look” at the question—twice. The Corps first looked at the environmental justice

factors within a one-mile radius of the project site; later, in response to public comments, the Corps

analyzed the question using a five-mile radius. See USACE_022648, 24688‒89. El Puente argues

that the supplemental analysis was limited to a consideration of the effects of dredging Condado

Lagoon, but that analysis itself makes clear that the Corps was considering the environmental-

justice effects of the entire project. See USACE_024688 (“Public comment from the 2021 draft


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  For similar reasons, the Court rejects El Puente’s “dredging begets more dredging” arguments
about Anchorage Area F and additional dredging at the docks. The Coast Guard is considering
additional dredging in Anchorage Area F “for safety purposes as a safety area for ships
experiencing mechanical failures or other emergencies.” USACE_000067. If the Coast Guard
decides to further dredge Anchorage Area F, the Coast Guard will have to engage in the rulemaking
process—which, as far as the record shows, has not begun—and comply with its own legal
obligations. See id. The Corps considered the possibility of such dredging in its cumulative effects
analysis, USACE_000189, but the uncertainty, timeline, and independent purpose of that potential
project lead this Court to conclude that it is not a “connected action” to the San Juan Harbor
Project. See City of Boston Delegation, 897 F.3d at 252. Likewise, the potential additional
dredging at the docks by “private parties,” see Pls.’ Mot. at 17, would not be federal actions and
therefore are excluded from the connected-action analysis, Big Bend Conservation All., 896 F.3d
at 424.

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SEA requested additional EJ analysis. Therefore, the area evaluated for this Project was extended

to 5-miles, which should encompass all potential project effects to surrounding communities.”).

El Puente also contends that the timing of the hurricanes limited public participation in the process,

but has proffered no evidence of late-submitted comments that weren’t considered by the

government or of any request to extend the comment period. See Defs.’ Cross-Mot. at 24.

       The Corps also adequately considered the Project’s potential impacts on air quality. El

Puente argues that the Corps’s comparative analysis was unreasonable and that the Corps should

have instead disclosed and analyzed the aggregate air emissions and their effects on health. Pls.’

Mot. at 22‒23; accord id. at 23 (“NEPA requires disclosure of cumulative pollution impacts; an

incremental comparison is insufficient.” (citing Grand Canyon Tr., 290 F.3d at 345–46)). But the

cases on which El Puente relies do not undermine the Corps’s decision to do a comparative

analysis. In Grand Canyon Trust v. Federal Aviation Administration, the Court of Appeals

rejected the use of an incremental analysis where the agency claimed that the new airport would

only contribute a 2% increase in overflights near Zion Park, but failed to consider whether that 2%

increase would “significantly affect” the quality of human environment. 290 F.3d at 345‒46

(alteration adopted). Here, in contrast, the Corps did consider whether the increase in air pollutants

would “significantly impact” the quality of the human environment. In particular, the Corps

predicted that if all other operations in the Harbor remained the same, the Project would cause a

vessel emissions increase of 0–10%, but that the Project “will also facilitate newer, larger, cleaner,

and more efficient vessels to reach the port.” USACE_000180. As the Corps put it, because “large

vessel access to the port terminals will not be restricted, some of the non-monetary benefits of the

proposed action include reduced and less concentrated air emissions, noise, and vessel traffic.”




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USACE_000187. 10 These newer, cleaner vessels include but are not limited to LNG vessels, and

with respect to LNG vessels, the Corps further predicted that “future conversion of the Power

Plants from bunker or diesel fuel oil to LNG will improve the air quality of the harbor and also

offset any additional emissions from the future commerce therein.” USACE_000180. The Corps

also noted that the area “experiences nearly constant trade winds and sea breezes,”

USACE_000180, analyzed the project under the Clean Air Act regulations, and determined that

the Project “would not exceed de minimis . . . levels of direct or indirect emissions of a criteria

pollutant or its precursors,” USACE_000181. This analysis satisfied the Corps’s obligations under

NEPA.

        WildEarth Guardians v. Zinke is also inapposite. There, the Court determined that the U.S.

Bureau of Land Management failed to quantify predicted aggregate greenhouse gas emissions that

would result from reasonably foreseeable future drilling projects on leased parcels of land. 368 F.

Supp. 3d 41, 71 (D.D.C. 2019). Here, in contrast, the Corps did consider the effects of potential

future projects by considering the possibility that Puerto Rico would convert to LNG, which it

reasonably concluded would result in lower emissions. See USACE_000180; see also WildEarth

Guardians v. Bernhardt, 502 F. Supp. 3d 237, 248‒49 (D.D.C. 2020) (same).

        As for corals, as discussed above, the Corps thoroughly considered the potential impacts

of the Project in consultation with the Fisheries Service. See supra Part III(A)(1). El Puente

complains that the 150-meter impact zone used by the Corps was unreasonably small, relied on

outdated data, and ignored the results of the Port of Miami project on corals. Pls.’ Mot. at 25‒28.



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   More specifically, based on the same consumption of petroleum “commodities per year,” the
Corps predicts a “reduction in the number of vessels used to transport petroleum products each
year,” id., and thus that “total air emissions within the harbor and at each terminal would decrease
in a given year as a result of the harbor widening and deepening,” id.

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But again, the Corps meaningfully and reasonably differentiated the Miami project and therefore

did not act unreasonably by relying on other past projects that occurred in locations more like the

Harbor. See supra Part III(A)(1).

        As for the Project’s potential effect on historic and cultural resources, El Puente contends

that the Corps failed to consider the effect that larger (even if fewer) ships would have on erosion

and the Harbor’s viewshed. Pls.’ Mot. at 30‒32. El Puente also argues that the Corps should have

analyzed the “additive contribution of larger ship wakes” rather than “dismiss[ing] erosion from

ship wakes as negligible by comparing it to that caused from waves and wind.” Pls.’ Mot. at 31

(citing Grand Canyon Tr., 290 F.3d at 345). But the Corps did sufficiently consider these issues;

rather than merely engage in an incremental analysis, the Corps concluded that the Project would

“reduce the shoreline impact of vessel wakes by reducing the number of vessels and increasing the

range of tides during which vessels can transit the harbor.” USACE_000184. And the Corps

concluded that fewer, larger ships would not negatively impact the viewshed as compared to the

current vessel traffic in a Harbor already characterized by commercial and recreational vessel

traffic. See id. Without a “clear error of judgment,” the Court cannot “substitute its judgment for

that of the agency.” See State Farm, 463 U.S. at 43.

        With respect to potential seabed damage and risks of oil spills and LNG accidents, El

Puente characterizes the Corps’s treatment of risks to benthic life as “flippant” and “cursory.” Pls.’

Mot. at 33. But to support its conclusion that “initial loss of benthic resources [is] likely, quick

recovery between six months . . . to two years . . . is expected,” the Corps cited six scientific studies

that supported the recovery time frame. See USACE_000168. El Puente also argues that the

environmental assessment “omits analysis of vessel traffic,” Pls.’ Mot. at 33, but the Corps detailed

why widening and deepening of the Harbor would improve the conditions that have historically



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led to accidents. See USACE_003456 (explaining that the Harbor “is known to have many

groundings, allisions[,] and collisions” and that the “entrance channel also presents significant

navigational challenges including bar channel winds and waves causing ships to roll and heel and

winds, waves[,] and currents in the entrance channel cause ships to alter their speed resulting in

squat and sinkage” and that the Project “will help improve these conditions for vessels transiting

the entrance channel”). And El Puente does not identify what other occurrences—other than the

collisions, groundings, and allisions the government addressed—would constitute vessel

accidents.

        Finally, contrary to El Puente’s contentions, the Corps took a “hard look” at the cumulative

impacts of the Project and reasonable alternatives. As detailed previously, the Corps considered

the Project in light of the U.S. Coast Guard’s plan for the expansion of Anchorage Area F and

concluded that the cumulative effects on benthic resources would be minimal.                        See

USACE_000189; supra n.9. The Corps also concluded that “the net contribution to cumulative

adverse impacts due to the proposed project and the overall cumulative adverse impact will be

appropriately minimized based on” efforts to avoid and mitigate environmental impacts and

federal and state permitting requirements for the proposed and potential future actions.

USACE_000189. And as for alternatives, the Corps considered three potential beneficial-use sites

as alternative disposal sites to the Ocean Disposal Site, see USACE_000141‒42, and “100 possible

deepening and widening alternatives” which it narrowed down to seven by considering technical

constraints, completeness, effectiveness, efficiency, and acceptability, see USACE_000125‒26,

128. The Corps also considered a “no action” alternative, USACE_000121, but determined that

taking no action would result in a “greater increase in ship transits, . . . result[ing] in greater risk




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to threatened and endangered species, and more air pollution,” USACE_000131. These analyses

were sufficiently “hard looks” at the relevant factors.

       2.      NEPA Did Not Separately Require an Environmental Impact
               Statement.

       As explained above, NEPA requires agencies to prepare an environmental impact

statement for all “major Federal actions significantly affecting the quality of the human

environment.” 42 U.S.C. § 4332(C). “Whether a project has significant environmental impacts,

thus triggering the need to produce an [environmental impact statement], depends on its ‘context’

(region, locality) and ‘intensity’ (‘severity of impact’).” Nat’l Parks Conservation Ass’n v.

Semonite, 916 F.3d 1075, 1082 (D.C. Cir. 2019), amended on reh’g on other grounds by 925 F.3d

500 (D.C. Cir. 2019) (quoting 40 C.F.R. § 1508.27). Intensity, in turn, requires the consideration

of ten enumerated factors that “should be considered,” including the “degree to which the proposed

action affects public health or safety.” See 40 C.F.R. § 1508.27(b), (b)(2). Actions that will not

“significantly affect[] the quality of the human environment” require only an environmental

assessment. See Env’t Def. Ctr., 36 F.4th at 872 (quotation omitted).

       El Puente argues that NEPA required the preparation of an environmental impact statement

because the Project may have a significant impact on the quality of the human environment. Pls.’

Mot. at 38. El Puente highlights the context of the Project—the San Juan Bay Estuary and San

Juan National Historic Site—and four “intensity factors”—public health and safety, proximity to

numerous historic and cultural resources, threats to threatened and endangered species, and

cumulative effects. Id. at 38‒42. More specifically, El Puente argues that public health and safety

will be adversely affected by the air pollution and the risk of oil and LNG accidents, that the

Project’s location is close to historic landmarks, that the Project includes dredging that injures and




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kills sea turtles, corals, and manatees, and that the cumulative effects from other federal actions in

San Juan Bay exacerbate the effects from the Project. Id.

       The Court’s role here is “limited,” “designed primarily to ensure that no arguably

significant consequences have been ignored.” Semonite, 916 F.3d at 1082 (quoting Myersville

Citizens for a Rural Cmty., Inc. v. Fed. Energy Regul. Comm’n, 783 F.3d 1301, 1322 (D.C. Cir.

2015)). To determine whether the Corps’s decision was arbitrary and capricious, the Court asks

“whether the Corps is ‘able to make a convincing case for its finding’ of no significant impact.”

Id. (quoting Sierra Club v. U.S. Dep’t of Transp., 753 F.2d 120, 127 (D.C. Cir. 1985)).

       El Puente has not identified any intensity factors that the Corps failed to consider. Instead,

El Puente argues that, in considering several intensity factors, the Corps should have weighed

certain evidence more heavily. See Pls.’ Mot. at 39‒42. The Court is unpersuaded.

       As explained above, the Corps took a hard look at potential air pollution and safety risks

from the Project, effects on historic resources, and cumulative impacts. See supra Part III(B)(1).

Likewise, the Corps thoroughly considered the impacts on endangered species, engaged in formal

and informal consultation as required, and reasonably determined that the effects on corals and

manatees would not be significant. See supra Part III(A). As to sea turtles, the National Marine

Fisheries Service concluded after formal consultation that the Project “may adversely affect but is

not likely to jeopardize the continued existence of green, loggerhead, and hawksbill sea turtles.”

NMFS_00004. But “NEPA regulations direct the agency to consider the degree of adverse effect

on a species, not the impact on individuals of that species,” Env’t Prot. Info. Ctr. v. U.S. Forest

Serv., 451 F.3d 1005, 1011 (9th Cir. 2006), and it was not arbitrary and capricious for the agencies

to “determine that although there will be some effect on individual” animals, the Project “will not




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cause a significant adverse effect on the species and require an [environmental impact statement],”

see id.

          Finally, the Corps was not bound by its original statement that it would prepare an

environmental impact statement. See USACE_007577. The announcement that the Corps was

initiating all the environmental procedural requirements for the Project did not lock the Corps into

an environmental impact statement, as agencies are permitted to first prepare an environmental

assessment if the agency is “unsure whether its proposed action will have significant

environmental impacts.” See Env’t Def. Ctr., 36 F.4th at 872. And there is no evidence that the

Corps had originally decided that such an impact may occur when it made its original

announcement.

C.        The Corps Complied With the Clean Water Act.

          El Puente argues that the Corps failed to comply with the requirements of the CWA. See

Pls.’ Mot. at 9; accord Compl. at ¶¶ 145‒49 (Count 4). 11 According to El Puente, the Corps

violated the guidelines for section 404(b)(1) of the CWA by failing to “consider or analyze less

environmentally damaging alternatives, such as a smaller project footprint or another Project

design that would avoid or minimize discharges of dredged material and impacts to aquatic habitat

and species, including corals.” Pls.’ Reply at 4‒5. El Puente further argues that the Corps

“violated the Clean Water Act’s requirements to avoid and minimize damage to corals from its

dredging, transport, and disposal activities.” Id. at 5‒6 (citing 40 C.F.R. § 230.10(c)‒(d)).

          But as noted above, the record shows that the Corps considered “100 possible deepening

and widening alternatives” which it narrowed down to seven by considering technical constraints,


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   El Puente originally contended that the Corps were required to prepare an environmental impact
statement by the plain language of the CWA, see Pls.’ Mot. at 9 (citing 33 U.S.C. § 1344(r)), but
this argument was later abandoned. See Defs.’ Reply at 1.

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completeness, effectiveness, efficiency, and acceptability. See USACE_000125‒26, 128. The

Corps also considered a “no action” alternative, USACE_000121, but determined that taking no

action would result in “greater increase in ship transits, . . . result[ing] in greater risk to threatened

and endangered species, and more air pollution,” USACE_000131. The Corps also considered

multiple alternatives for where to deposit the dredged material, including Condado Lagoon, but

decided for the initial construction that all material would be placed in the Ocean Disposal Site.

USACE_000140‒43, 24449. The Corps completed a CWA Section 404 analysis for the disposal

alternatives. See USACE_001110‒24. The Biological Assessment regarding corals shows that

the Corps properly considered the potential effects on corals from dredging, transport, and

disposal. See NMFS_00229‒39. And the Court notes that El Puente does not challenge the

Corps’s compliance with the MPRSA for the disposal in the ODMDS.

                                           CONCLUSION

        For the forgoing reasons, the Court grants the Defendants’ Cross-Motion and denies

Plaintiffs’ Motion. An appropriate order will accompany this opinion.


DATE: July 24, 2023
                                                                 CARL J. NICHOLS
                                                                 United States District Judge




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